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                      Exhibit C
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                                                        THE    HILL RDI
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                                                                         SCHOOL
                                                                            1100
                                  RE-ENROLLMENT CONTRACT 2015-2016 SCHOOL YEAR

Tuition: $54,570                                                                        Contract and nonrefundable deposit of: $5457
Tuition Due: $54,570                                                                                     Must be received by: April 1, 2015
 - I hereby accept the place at The Hill School reserved for Jason Bret Kuyper as a male boarding student in Sixth Form for the school year
   commencing in September. In consideration of the acceptance of this reservation by The Hill School, I agree to pay the annual tuition charge in
   installments as follows: I 0% is a nonrefundable deposit due with return of this contract; 50% is due August I, 2015 ; the remaining 40% is due
   December I, 2015. Alternatively, I may elect to pay tuition through The Hill School Monthly Payment Plan by completing and returning the attached
   Tuition Payment Plan Enrollment Form to the Business Office. Students who receive financial aid will have their award credited to their bill pro rata.
 - I understand that I may cancel this Contract in writing, without penalty (except forfeiture of the 10% enrollment deposit) on or before July 1, 2015.
FINANCIAL OBLIGATION
 - I understand that the financial obligations of the School do not diminish with the departure of a student during the course of a year. Therefore, subject to
   the terms of the Tuition Credit Program described in the Financial Information Booklet, I agree that my obligation to pay the tuition fees for the full
   academic year is noncancellable after July 1, 2015. No deduction of the tuition fees shall be made for delays of entrance or for absence during the
   school year. In case of the prolonged absence, withdrawal or dismissal of the student during the school year, the full year's tuition fees shall become due
   and payable at the time thereof, subject to the terms of the Tuition Credit Program.
 - I agree to pay, to the extent permitted by law, the School 's expenses of enforcement and collection of tuition fees and related expenses, including
   reasonable attorney' s fees and costs.
TERMS OF ACCOUNT                                                                                                                                          /
 - I agree to the policy of the School that until his or her tuition account is paid in full to date, a student may not enter the dormitories or classr°;6ms, take
   examinations or participate in school activities. I further understand that grades and transcripts may be sent only when an account has been paid in full.
                                                                                                                                                       I
 - I agree to pay any other charges and fees incurred by or on behalf of the student while attending the School, according to the policies of the ~chool.
 - I agree to the policy of the School regarding overdue accounts: the School will apply a late payment charge of 1.5% per month (18% per a4num) to
   overdue accounts. This late payment charge is applied to the tuition fees immediately after a due-date. It is applied to other fees and charges thirty (30)
   days from the date of the billing statement.
 - It is understood that conditions beyond the control of the School, such as fire, natural or man-made disturbances, war, terrorism, nuclear incidents, acts
   of governmental agencies, pandemic or health or environmental emergency, or any other cause beyond the control of the School, may make it
    impossible for the School to conduct its normal educational mission for a period of time. If such conditions do occur, the School will make every
   reasonable effort to resume normal operations as soon as practicable. The School may extend the school year into vacation periods or take other actions
   as it deems prudent given its available resources and is concern for the health and welfare of its students and employees.
GROUNDS FOR TERMINATION OR DISMISSAL
 - I agree to the policy of the School which reserves the right to dismiss any student whose behavior or academic performance is deemed unsatisfactory.
   acknowledge that my child/ward and I are aware that the School has issued certain rules and regulations, and that a student is subject to them as they
   may be revised from time to time.
 - I understand that the Executive Committee of the Faculty of the School reviews both the academic record and general record of all students at the end of
   the school year, and I agree to the policy of the School that re-enrollment at the School is contingent upon an invitation from this committee to return to
   the School for the next school year.
 - I understand that the School maintains the right to determine, at any time, and at its sole discretion, that a student must interrupt or terminate attendance
   at the School for reasons of physical or mental health.
 - I understand that the School reserves the right not to continue to enroll a student if the School reasonably concludes, solely at its discretion, that the
   actions of a parent or guardian preclude a positive or constructive relationship with the School, or seriously interfere with the School's educational
   purposes. Additionally, the School may dismiss a student for inappropriate parental behavior that interferes with the faculty, staff, trustees, or
   operations of the School, or with the safety of any individual.
COMMUNICABLE DISEASE
 - I agree to the policy of the School that the parent/guardian or student is obligated to inform the Headmaster immediately of any serious communicable
   disease with which the student has been diagnosed as being infected. Such information will be treated as confidential, consistent with the policy and
   procedures outlined in the School's written policy on the AIDS virus and other serious communicable diseases. I understand that failure to inform the
   Headmaster immediately of diagnosis with a serious communicable disease is grounds for dismissal.
PERMISSION TO PARTICIPATE IN SCHOOL ACTIVITIES
 - I agree that the student may participate in all school activities, including athletics, and any School-sponsored trip away from the campus unless the
       School receives written notification to the contrary.
APPLICABLE LAW
This agreement will be governed by the internal laws of the Commonwealth of Pennsylvania without regard to any conflict of law principles. Any action
arising out of or relating to this contract or to my child 's enrollment at the School shall be brought in the Court of Common Pleas of Montgomery County,
PA, a local District Justice Court in Montgomery County, or in the United States District Court for the Eastern District of Pennsylvania, except where a
different venue is required by law.

          Signature of parent or guardian who is financially responsible for student:

Date:   03/o, /2.015                     Signature: _ _     ~~ - ~~4'-;
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                                   717 East High Street Pottstown PA 19464-5791          (610) 326- 1000      www.thehill.org
